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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, KENT                             CIVIL ACTION NO. 12-859
 ANDERSON, STEVEN
 DOMINICK, ANTHONY                               JUDGE LANCE M. AFRICK
 GIOUSTAVIA, JIMMIE
                                                 MAGISTRATE JUDGE
 JENKINS, GREG JOURNEE,
                                                 NORTH
 RICHARD LANFORD,
 LEONARD LEWIS, EUELL
 SYLVESTER, and MARK
 WALKER, on behalf of themselves
 and all other similarly situated, et
 al.

 VERSUS

 MARLIN GUSMAN, Sheriff,
 Orleans Parish



CITY OF NEW ORLEANS’ RESPONSE TO COMPLIANCE DIRECTOR’S
            MOTION FOR A STATUS CONFERENCE

MAY IT PLEASE THE COURT:

         After all post-hearing briefing was completed as the Court directed, Darnley

Hodge, acting in the quasi-capacity of the compliance director, filed a motion for a

status conference. Rec. Doc. 1370. His motion was filed ex parte absent any notice

to the City or the other parties. Formally, Hodge requests a status conference. But

as this Court certainly recognizes, the so-called motion for a status conference was


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a transparent effort to file a sur-reply brief and offer the same arguments posited

during the hearing and in his post-hearing brief. If the Court is inclined to consider

the redundant arguments proffered by Hodge, the City respectfully requests that

Hodge’s motion be set for hearing consistent with the Local Rules of this Court

and the City be afforded an opportunity to respond in greater detail. Before the

City had a day to respond to Hodge’s motion, it was granted on November 12th

(Rec Doc. 1370) and a status conference has been scheduled for November 23rd.

         Given the unusual procedures used by Hodge, the City is constrained to

submit this limited reply and respectfully requests the opportunity to expand its

response as needed.

         On August 5th, the Court agreed with the OPSO that the Sheriff could

resume operation of the OJC. Rec. Doc. 1311. Yet oddly, the Court has not

removed the compliance director to date, even though the compliance director, a

non-party, was only expected to serve as Compliance Director until the Court

determined that sustained and sustainable material progress with substantial

compliance had been achieved —which the Court affirmatively concluded had

already occurred in its August 5th Order. While the City is aware that the court

allowed the compliance director to participate in the hearing over the City’s

objection, the City respectfully submits that the compliance director’s ongoing


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activities at the City’s expense, as well as the sizeable fees he and his outside law

firm continue to mount (which the City and its taxpayers are being asked to pay)

should come to an immediate end. The reinstatement of the duly elected Sheriff as

the person in charge of OJC and associated facilities is incongruous with a

continued role for the compliance director and is at odds with the very reason a

compliance director was injected into this proceeding, namely, while the Sheriff

was unable to control the operations of the jail.

         And more importantly, Hodge’s renewed arguments are factually incorrect.

The Templeman II funds were to be used to ensure appropriate housing for

inmates. The City has fulfilled this undertaking. Hodge continues to misstate the

Stipulated Order. Rec. Doc 1082. Nowhere in the Stipulated Order is there even a

mention of the proposed Phase III facility—much less a contractual obligation for

the City to construct another jail facility that would ultimately house 65 or fewer

inmates.

         Equally incorrect is Hodge’s attempted criticism of the City in its efforts to

respond to the Court’s inquiry. The Mayor and the City, as expressed during

testimony at the hearing, endeavored to determine if FEMA funds can be used to

defray the costs of the retrofit on the second floor of OJC as an alternative to Phase

III. Indeed, as the District Court stated on multiple occasions, the means of


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housing and caring for inmates are decisions that should be made by local officials

responsible to the taxpayers of New Orleans. The City believes that the retrofit is

both a viable and preferable alternative to Phase III. Testimony during the hearing

indicated, if not confirmed the City’s position that the retrofit of a portion of the

second floor of OJC would be accepted by FEMA under the Criminal Justice and

Public Safety Alternate Project Fund. In short, the City sought FEMA’s position in

direct response to the court’s question during the hearing.

         Next, Darnley Hodge makes the irregular request for the Court to issue an

advisory ruling that he should be protected from unidentified lawsuits and possible

lawsuits in the future and should be granted a blank check for continuing expenses

into the future. Presumably, Hodge now requests the City to pay his legal defense

costs for all lawsuits against him that have any nexus with his time as compliance

director, and he further asks the City to pay for his legal counsel to continue to

litigate against the City, at the City’s expense, in a litigation matter where Hodge is

not a party to the litigation. Hodge’s multiple requests, looped in as part of a

request for a status conference, again absent notice or adherence to the Local

Rules, is improper procedurally and substantively.

         The Order appointing Hodge as the compliance director does not contain any

such provision for his defense in lawsuits in perpetuity, much less unfiled lawsuits,


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and representation in litigation matters where Hodge is not a party. Compounding

the questionable and inappropriate nature of his request is the August 5th Order

reinstating the Sheriff as duly elected official responsible for jail operations.

Although Hodge has not been formally removed by the Court, the genesis of the

position of compliance director was to serve when the Sheriff was precluded from

doing so. Because the Court has acknowledged that limitation should now be

removed, it would be both an unnecessary and costly undertaking to pay more than

$400,000 annually in salaries (with the compliance director incurring a larger

salary than the duly elected sheriff and other elected officials), plus extensive legal

fees, to maintain two persons theoretically serving at the helm of the Orleans

Parish jail. This is inconsistent with, and contrary to, what the City consented to in

this litigation matter. More specifically, the Sheriff has regained control of

operating the jail system, thereby obviating the need for a compliance director

which was a position resulting from a compromise during the hearing to replace

the Sheriff with a Receiver or Compliance Director. Under the purpose of the

compliance director, read in juxtaposition with the August 5th Order, Darnley

Hodge is deprived from having any standing to make such a request for a defense.

And logically, if an entity should provide him with a defense, it should be the




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OPSO—the very entity that lead to the creation of the position of compliance

director.

         The strained argument relying on FRCP Rule 64 falters. The compliance

director does not have the legal right to seize or sequester the City’s funds. There is

no judgment in favor of the compliance director which is a predicate for invoking

Rule 64; beyond this failing, the compliance director lacks the authority and

standing to seize funds in the possession of the City or even to stymie usage of the

City’s funds. Such an attempt is far beyond the pale of the compliance director’s

role and the circumscribed functions when the position of compliance director was

created.

         The City recognizes that the August 5th Order indicates the compliance

director will be removed at a later date, but that should occur immediately. Hodge

nevertheless informally seeks some form of a personal defense for the indefinite

future, even in litigation where he is not a party, with a blank check for law firm

legal expenses. Ironically, the compliance director makes this request as the City

is responding to an economic crisis with historic revenue shortfalls. Respectfully,

the City believes Hodge’s request spanning the unforeseeable future should be




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denied and the compliance director’s repeated ill-founded arguments should be

rejected.

                                      Respectfully submitted,

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                           CERTIFICATE OF SERVICE

         This is to certify that a copy of the foregoing was filed on this 20th day of

November 2020, with the Clerk of Court by using the CM/ECF system, which will

send a notice of electronic filing to all participating counsel of record.


                                          /s/ Harry Rosenberg




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